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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    REDWOOD HOLDINGS, LLC,                               Case No.: 24cv1806-LL-MSB
12                                        Plaintiff,
                                                           REMANDING ACTION TO STATE
13    v.                                                   COURT FOR LACK OF SUBJECT
                                                           MATTER JURISDICTION AND
14    NELSON A. MANCIA, et al.,
                                                           DENYING AS MOOT MOTION TO
15                                    Defendants.          PROCEED IN FORMA PAUPERIS
16
                                                           [ECF Nos. 1, 2]
17
18          Defendants Nelson A. Mancia, Nelson M. Mancia, and Zulma G. Mancia, acting pro
19    se, removed this action under federal question jurisdiction from the San Diego Superior
20    Court. ECF No. 1. There, Plaintiff Redwood Holdings, LLC sued Defendants for unlawful
21    detainer. ECF No. 1-2. Plaintiff alleged that it purchased the house at issue in a foreclosure
22    sale. Id. ¶ 4. Despite providing notice in writing that Defendants must vacate the premises,
23    Plaintiff asserted that Defendants have remained in the house after their vacate-deadline.
24    Id. ¶¶ 12–15. Plaintiff sued Defendants to obtain possession of the property and for rental
25    damages in the amount of $157.70 per day from March 15, 2024, to the date Defendants
26    vacate or Plaintiff obtains judgment. Id. at 3. For the reasons below, the Court sua sponte
27    REMANDS this action for lack of subject matter jurisdiction and DENIES AS MOOT
28    Defendants’ Motion to Proceed In Forma Pauperis.

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 1    I.    LEGAL STANDARD
 2          “Federal courts are courts of limited jurisdiction,” having subject matter jurisdiction
 3    only over matters authorized by the Constitution and Congress. Kokkonen v. Guardian Life
 4    Ins. Co. of Am., 511 U.S. 375, 377 (1994). A defendant may remove a civil action to federal
 5    court only if the district court would have “original jurisdiction” over the matter. 28 U.S.C.
 6    § 1441(a). In general, “removal statutes are strictly construed against removal,” and a
 7    “defendant seeking removal has the burden to establish that removal is proper and any
 8    doubt is resolved against removability.” Luther v. Countrywide Home Loans Servicing LP,
 9    533 F.3d 1031, 1034 (9th Cir. 2008). Federal courts are under “an independent obligation
10    to examine their own jurisdiction.” FW/PBS, Inc. v. City of Dallas, 493 U.S. 215, 231
11    (1990). “If at any time before final judgment it appears that the district court lacks subject
12    matter jurisdiction, the case shall be remanded.” 28 U.S.C. § 1447(c).
13    II.   DISCUSSION
14          Defendants removed this action under federal question jurisdiction pursuant to
15    28 U.S.C. § 1331, § 1441(a), and § 1446. ECF No. 1, at 1. Federal question jurisdiction
16    exists over “all civil actions arising under the Constitution, laws, or treaties of the United
17    States.” 28 U.S.C. § 1331. This type of jurisdiction exists only when a federal question is
18    “presented on the face of the plaintiff's properly pleaded complaint.” Caterpillar Inc. v.
19    Williams, 482 U.S. 386, 392 (1987).
20          Here, Defendants argue that federal question jurisdiction exists because Plaintiff’s
21    “claim is based upon a notice which expressly references and incorporates the Protecting
22    Tenants at Foreclosure Act [PTFA].” ECF No. 1, at 3. Defendants are mistaken. Plaintiff’s
23    complaint alleges a sole claim for unlawful detainer under California law. ECF No. 1-2.
24    The PTFA, nor any other federal statute, is part of the complaint. Id. Defendants can try to
25    “raise the PFTA as a defense to the state court action,” but they “cannot rely on it to remove
26    this action to this Court.” Lott v. Miller, No. 20-cv-0147-BAS-AGS, 2020 WL 374467, at
27    *2 (S.D. Cal. Jan. 23, 2020); see Deutsche Bank Nat’l Tr. Co. v. Forteza, No. CV 12-1561
28    CAS (EX), 2012 WL 12897033, at *1 (C.D. Cal. Mar. 9, 2012) (“A defendant’s attempt at

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 1    creating federal subject matter jurisdiction by adding claims or defenses to a notice of
 2    removal must fail.”).
 3           Because Plaintiff’s complaint only alleges an unlawful detainer claim under
 4    California law, there is no federal question jurisdiction. See Wells Fargo Bank v. Lapeen,
 5    No. C 11-01932 LB, 2011 WL 2194117, at *3 (N.D. Cal. June 6, 2011) (“An unlawful
 6    detainer action, on its face, does not arise under federal law but is purely a creature of
 7    California law.”); Lott, 2020 WL 374467, at *2 (remanding action for lack of subject matter
 8    jurisdiction since the complaint only alleged “a residential unlawful detainer” claim).
 9    And because there is no claim arising under a federal question—the only alleged basis for
10    jurisdiction—the Court must remand. See id.
11    III.   CONCLUSION
12           Accordingly, the Court sua sponte REMANDS this action for lack of subject matter
13    jurisdiction to the San Diego Superior Court and DENIES AS MOOT Defendants’ Motion
14    to Proceed In Forma Pauperis.
15           IT IS SO ORDERED.
16    Dated: October 31, 2024
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